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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                               __________________


UNITED STATES OF AMERICA,

              Plaintiff,                               Hon. Robert J. Jonker

v                                                      Case no. 1:20-cr-00181

RICHARD DAVID SMITH,

              Defendant.
____________________________________________________________
Sean M. Lewis                        Deno P. Fotieo (P28355)
Assistant United States Attorney     Attorney for Defendant
Attorney for Plaintiff               146 Monroe Center Street NW
330 Ionia Avenue NW                  Suite 606
Suite 501                            Grand Rapids, Michigan 49503
Grand Rapids, Michigan 49503         (616) 459-4279
____________________________________________________________

                DEFENDANT RICHARD DAVID SMITH’S
         MOTION FOR VARIANCE PURSUANT TO 18 U.S.C. § 3553(a)




       Pursuant to 18 U.S.C. § 3553(a), the Court shall impose a sentence that is

sufficient but not greater than necessary. The Court is to consider factors as specifically

listed. The advisory guideline calculations are only one factor to be considered in

sentencing.

       The Court may not presume that the guideline range is reasonable, but is to make

an assessment based upon all sentencing factors. A variance from the guidelines can be

made in the discretion of the Court.




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      Defendant requests that the Court consider a downward variance based upon the

18 U.S.C. § 3553(a) factors including as further explained in Defendant’s Sentencing

Memorandum filed herewith.



Respectfully submitted,



Dated: April 22, 2021                                /s/ Deno P. Fotieo
                                             Deno P. Fotieo (P28355)
                                             Attorney for Defendant Smith
                                             146 Monroe Center, NW, Suite 606
                                             Grand Rapids, Michigan 49503
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